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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BASHIR YUSUF JAMOH                              : CIVIL ACTION
                                                 :
                       v.                        : NO. 22-3070
                                                 :
 JACKSON UDE                                     :

                                             ORDER
       AND NOW, this 13th day of September 2023, upon review of defendant Jackson Ude’s

motion to set aside entry of default (DI 18), plaintiff Bashir Yusuf Jamoh’s opposition brief in

response (DI 19), and defendant’s reply (DI 20), the Court finds as follows:

       1.       Under Fed. R. Civ. P. 55(c), the Court may set aside an entry of default for “good

cause.” The Court considers three factors when determining whether to set aside a default: “(1)

whether the plaintiff will be prejudiced; (2) whether the defendant has a meritorious defense; (3)

whether the default was the result of the defendant’s culpable conduct.” United States v.

$55,518.05 in U.S. Currency, 728 F.2d 192, 195 (3d Cir. 1984); Dambach v. United States, 211

F. App’x 105, 109 (3d Cir. 2006). 1

       2.       District courts have discretion to decide whether to set aside entries of default.

See $55,518.05 in U.S. Currency, 728 F.2d at 194. However, “[t]here is a strong presumption in

favor of resolving the case on the merits.” Handle v. Postmaster Gen., U.S. Postal Serv., 806 F.

App’x 95, 100 (3d Cir. 2020). Additionally, “[l]ess substantial grounds may be adequate” to set

aside an entry of default than to open a default judgment. Feliciano v. Reliant Tooling Co., 691

F.2d 653, 656 (3d Cir. 1982).

       3.       Regarding the first factor, a plaintiff suffers prejudice when his claim “would be


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         Courts sometimes also consider a fourth factor: “the effectiveness of alternative
sanctions.” Emcasco Ins. Co. v. Sambrick, 834 F.2d 71, 73 (3d Cir. 1987).
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materially impaired because of the loss of evidence, an increased potential for fraud or collusion,

substantial reliance on the entry of default, or other substantial factors.” Dizzley v. Friends

Rehab. Program, Inc., 202 F.R.D. 146, 147-48 (E.D. Pa. 2001).

       4.       Dr. Jamoh argues he will suffer prejudice because of Mr. Ude’s “significant”

delay and because the allegedly defamatory publications are causing him “ongoing damage.”

See DI 19 at 15-16.

       5.       Dr. Jamoh requested default under Fed. R. Civ. P. 55(a) on October 6, 2022, and

the clerk entered default the same day. See DI 10. Mr. Ude filed his motion to set aside the

entry of default (DI 18) on December 23, 2022. Therefore, less than three months passed

between the entry of default and Mr. Ude’s motion to set aside the entry of default. 2 Courts have

found that similar delays do not prejudice plaintiffs. See Dizzley, 202 F.R.D. at 148 (finding

“[t]hree months delay, without more, does not establish prejudice” to plaintiff who sought entry

of default); Natasha C. v. Visionquest, Ltd., 2003 WL 21999591, at *3 (E.D. Pa. Aug. 25, 2003)

(finding no prejudice to plaintiff in the two-month delay between default judgment and setting

aside of default judgement).

       6.       Additionally, Dr. Jamoh does not allege that this delay resulted in a loss of

evidence or other issue that “materially impaired” his claim. See DI 19.

       7.       Therefore, we conclude Dr. Jamoh will suffer no prejudice if the entry of default




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         Dr. Jamoh calculates a “nearly four-month delay,” presumably by looking at the gap
between Mr. Ude’s first deadline to respond to the complaint and his motion to set aside the
entry of default. DI 19 at 15. Dr. Jamoh says that Mr. Ude was required to respond to the
complaint by September 8, 2022. Id. at 6. However, he also notes that Mr. Ude requested an
extension, and that Dr. Jamoh agreed to this extension, pushing the response deadline back to
September 22, 2022. Id.
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is set aside.

        8.       Turing to the second factor, a defendant has a meritorious defense when

“allegations of defendant’s answer if established on trial, would constitute a complete defense to

the action.” $55, 518.05 in U.S. Currency, 728 F.2d at 195 (quoting Tozer v. Charles A. Krause

Milling Co., 189 F.2d 242, 244 (3d Cir. 1951)). This is a “threshold question” for courts to

consider. Id. To establish a meritorious defense, the defendant must provide “specific facts

beyond simple denials or conclusionary statements.” Id.

        9.       Here, Mr. Ude advances several meritorious defenses to Dr. Jamoh’s defamation

per se claim, including: (1) the claim is barred by the statute of limitations; (2) Mr. Ude is not the

appropriate defendant; (3) the alleged publication is true; and (4) the alleged publication is an

expression of opinion. DI 1 ¶¶ 64-74; DI 18 at 5-7.

        10.      Mr. Ude first argues that Dr. Jamoh commenced this lawsuit on August 3, 2022,

based on allegedly defamatory information published in May and June of 2021. DI 18 at 5.

Pennsylvania’s statute of limitations for defamation claims is one year. 42 Pa. Stat. and Cons.

Stat. § 5523(1). Further, the period of limitation for claims “accruing outside this

Commonwealth shall be either that provided or prescribed by the law of the place where the

claim accrued or by the law of this Commonwealth, whichever first bars the claim.” 42 Pa. Stat.

and Cons. Stat. § 5521(b). Therefore, Mr. Ude argues even if the claim accrued in Nigeria —

which Dr. Jamoh states has a three-year statute of limitations — Pennsylvania’s one-year statute

of limitations controls and bars the action. DI 18 at 5-7; DI 19 at 10.

        11.      Dr. Jamoh disagrees. First, he argues that the defamatory information was

republished in April and May of 2022, resetting the statute of limitations clock. DI 19 at 10.


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(Mr. Ude counters these alleged republications are “completely false and unsustainable.” DI 20

at 3.) Second, Mr. Jamoh argues that under a choice of law analysis, Nigeria’s statute of

limitations should apply. Id. at 10-12.

       12.     We need not resolve parties’ factual and legal disputes at this time. It is sufficient

to find Mr. Ude’s defense is not “facially unmeritorious.” Emcasco Ins. Co. v. Sambrick, 834

F.2d 71, 74 (3d Cir. 1987) (finding the court “need not decide the legal issue at this time”);

Gross v. Stereo Component Systems, Inc., 700 F.2d 120, 123 (3d Cir. 1983) (“We do not decide

the validity of [defendant’s] arguments.”); Feliciano, 691 F.2d at 657 (“We, of course, express

no view on the merits of the coverage question but observe that, prima facie, [defendant] does

have a valid defense.”).

       13.     We conclude that Mr. Ude’s defense is not “facially unmeritorious.” Indeed,

there is reason to believe Pennsylvania’s statute of limitations may apply. Harrison v. Harrison,

2023 WL 5608984, at *1 (3d Cir. Aug. 30, 2023) (“Although Pennsylvania courts typically apply

the statute of limitations of the forum, one exception is Pennsylvania’s ‘borrowing statute.’”);

Smith v. IMG Worldwide, Inc., 437 F. Supp. 297, 303-04 (E.D. Pa. 2006) (applying

Pennsylvania’s statute of limitations to a defamation claim whether the claim accrued in

Pennsylvania or Florida because Pennsylvania’s statute of limitations is shorter).

       14.     With respect to the third factor, “culpable conduct” means “willfulness” or “bad

faith” of the defendant. Hritz v. Woma Corp., 732 F.2d 1178, 1182 (3d Cir. 1984); Gross, 700

F.2d at 124. This requires more than “mere negligence.” Hritz, 732 F.2d at 1183. However,

“[r]eckless disregard for repeated communications from plaintiffs and the court” can show

culpable conduct. Nationwide Mut. Ins. Co. v. Starlight Ballroom Dance Club, Inc., 175 F.


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App’x 519, 523 (3d Cir. 2006) (quoting Hritz, 732 F.2d at 1183).

       15.     Mr. Ude argues that there is no evidence of “willfulness” or “bad faith” because

his delayed response was caused by local counsel Don Chisholm’s illness. DI 18 at 7-8. Due to

Mr. Chisholm’s illness, Mr. Ude says Mr. Chisholm was unable to enter his appearance or file

the pro hac vice application of out-of-state counsel, Benneth Onyema Amadi. Id.

       16.     Mr. Jamoh counters that the lack of communication with plaintiff’s counsel and

the court shows a “reckless disregard” for this action that makes his default “willful.” DI 19 at

8-9. For instance, Mr. Jamoh notes that Mr. Ude did not hire another local counsel, failed to

notify plaintiff’s counsel of Mr. Chisholm’s illness until November 7, 2022, and that Mr. Ude’s

counsel was unresponsive to plaintiff counsel’s emails. Id.

       17.     In light of Mr. Chisholm’s illness and the Third Circuit’s preference for resolving

cases on the merits, see Handle, 806 F. App’x at 100, we decline to find “willfulness” or “bad

faith” of Mr. Ude.

       18.     Mr. Jamoh also requests that if we set aside the entry of default, we impose the

following sanctions: “(1) that [d]efendant be allowed to only answer the [c]omplaint and not

move to dismiss, and (2) that the alleged defamatory publications at issue be temporarily taken

down from [d]efendant’s website and [d]efendant’s [T]witter account during the pendency of the

action.” DI 19 at 6.

       19.     Courts have found that punitive sanctions are “inappropriate absent evidence of

bad faith or willful misconduct, or where the defendant sets forth a meritorious defense.” See

Royal Ins. Co. of Am. v. Packaging Coordinators, Inc., 2000 WL 1586081, at *3 (E.D. Pa. Oct.

24, 2000); Natasha, 2003 WL 21999591, at *6. Additionally, it may be more “expedient” to


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allow the case to “proceed on the merits without further effort devoted to fixing appropriate

sanctions.” Emcasco, 834 F.2d at 75.

        20.    Here, sanctions are inappropriate because we find no evidence of bad faith or

willful misconduct and we find that Mr. Ude has offered a meritorious defense. And it is more

“expedient” to proceed with the case on the merits.

   For these reasons, it is ORDERED:

   1.   Defendant’s motion to set aside entry of default (DI 18) is GRANTED.

   2. The default entered on the docket on October 6, 2022 is STRICKEN.

   3. Defendant shall respond to the complaint no later than September 27, 2023.




                                                      MURPHY, J.




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